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UNITED STA'I'ES DISTRICT COURT
Western District of Tennessen§

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UNITED STATES OF AMERICA

Plainciff, UDW.S M.GWLD .
U.S. D!STR|CT (HBT
VS. Case Number @EMLdEHB£&B-Ma
LAvELL BATES 00 w¢QO,ZZO- Z»- M_a.
Defendant.

JUDGMENT AND COMMITMENT ORDER

ON SUPERVISED RELEASE VIOLATION
(For Offensas Committed On or A£ter November 1, 1987)

The defendant, LaVell Bates, was represented by Robert C. Irby, Esq.

It appearing that the defendant, who was convicted on April 29, 2002, in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has
violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of Eight (8) Months.

FURTHERMORE, the Court hereby imposes a period of Supervised Release for a term of
two (2) months with the following additional conditions of release:

The defendant shall seek housing and employment through the Center of
Independent Living.

The Court recommends to the Bureau of Prisons that the defendant serve his term of
incarceration at the facility in Millington, Tennessee or Forrest City, Arkansas or any
other facility located as close to Memphis, Tennessee as possible and that is equipped
to accommodate the defendant's medical condition.

The defendant is remanded to the custody of the United States Marshal.

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Signed this the day of July, 2005.

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SAMUEL H. MAYS. JR.
UNITED STATES DISTRICT JUDGE

 

Defendant's SS No.: 352-54-419;

Defendant's Date of Birth: 09/10/1976

U.S. Marshal No.: 17524-076

Defendant's Last Known Addre§§; 4173 Universitv, Mgmphis, TN 38127

 

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Notice of Distribution

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Honorable Sarnuel Mays
US DISTRICT COURT

